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United States District Court
Western District of North Carolina

Charlotte Division

Monti Antonio S.P.A., ) JUDGMENT IN CASE
) Certified to be a true z
{ ) Fue d
Plaintiff(s), ) 3:19-cv-00412-MOC-DSC canabany af the original
) US: Districf Court
Vs. ) Frank G, Johns, Clerk
) Westeyn District of N-C
By: é
John E. Carroll ) : iy
Sublitech, Inc. Date 4*2)-2020_
Defendant(s). )

DECISION BY COURT. This action having come before the Court and a decision having been
rendered;

IT IS ORDERED AND ADJUDGED that Judgment is hereby entered in accordance with the
Court’s July 22, 2020 Order.

July 22, 2020

Frank G. Johns, Clerk
United States District Court

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